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                         UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF ILLINOIS

                                   EASTERN DIVISION


CASSANDRA BAKER, Individually and on       )   Case No. 1:24-cv-00977
Behalf of All Others Similarly Situated,   )
                                           )   CLASS ACTION
                           Plaintiff,      )
                                           )   Honorable Sara L. Ellis
         vs.                               )
                                           )
CASSAVA SCIENCES, INC., et al.,            )
                                           )
                           Defendants.
                                           )
                                           )



    MOHAMMAD BOZORGI’S MOTION TO INTERVENE, TRANSFER, AND VACATE
                     LEAD-PLAINTIFF DEADLINE




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         Proposed Intervenor Mohammad Bozorgi (“Lead Plaintiff”), the Court-appointed Lead

Plaintiff in the related consolidated securities fraud class action In re Cassava Scis., Inc. Sec. Litig.,

No. 1:21-cv-00751-DAE (W.D. Tex.) (“Consolidated Action”), by and through his undersigned

counsel, respectfully requests that this Court enter an order: (1) granting Lead Plaintiff leave to

intervene in the above-captioned matter under Federal Rule of Civil Procedure 24; (2) transferring

this case to the Western District of Texas for consolidation with the Consolidated Action; and

(3) vacating or striking the lead-plaintiff notice and deadline in this case. In support of this motion,

Lead Plaintiff respectfully submits the accompanying memorandum of law and proposed order.1

DATED: March 20, 2024                               Respectfully submitted,

                                                    ROBBINS GELLER RUDMAN
                                                      & DOWD LLP
                                                    JAMES E. BARZ (IL Bar # 6255605)
                                                    FRANK A. RICHTER (IL Bar # # 6310011)


                                                                      /s/ James E. Barz
                                                                      JAMES E. BARZ

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     Pursuant to this Court’s case procedures, the proposed order will not be filed, but is being submitted to
this Court’s proposed orders inbox.

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                                         Lead Plaintiff Mohammad Bozorgi




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